             Case 1:97-cr-05190-AWI Document 98 Filed 01/25/08 Page 1 of 2


P R O B 35                 ORDER TERMINATING PROBATION
                             PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                           )
                                                   )
                            vs.                    )    Docket Number: 1:97CR05190-02 AWI
                                                   )
ROLANDA RIGOR SAGMAQUEN                            )
                                                   )


On April 5, 1999, the above-named was placed on supervised release (TSR) for a period of
5 years after being convicted of Conspiracy to Distribute and Possess With Intent to Distribute
Methamphetamine. The offender was sentenced to 94 months custody of the Bureau of
Prisons (BOP). On May 7, 2004, the offender was released on TSR and has been
supervised by the Fresno Office since that time. The offender is a 76 year old women who
has battled mental health issues since at least 1989. While on supervised release, the
offender has generally complied with the rules and regulations of supervision. She has
satisfied her $100 special assessment, and has always participated in her required mental
health counseling. Therefore, it is recommended that she be discharged from supervision.

                                   Respectfully submitted,

                                     /s/ Scott J. Waters

                                    Scott J. Waters
                         Senior United States Probation Officer

Dated:        January 9, 2008
              Fresno, California


REVIEWED BY:          /s/ Bruce A. Vasquez
                     Bruce A. Vasquez
                     Supervising United States Probation Officer


                                                                                       R ev. 03/2005
                                                                                      P R O B 35.M R G
           Case 1:97-cr-05190-AWI Document 98 Filed 01/25/08 Page 2 of 2


Re:   ROLANDA RIGOR SAGMAQUEN
      Docket Number: 1:97CR05190-02 AWI
      ORDER TERMINATING PROBATION
      PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that the supervised releasee be discharged from supervised release, and that
the proceedings in the case be terminated.




IT IS SO ORDERED.

Dated:   January 24, 2008                    /s/ Anthony W. Ishii
0m8i78                                 UNITED STATES DISTRICT JUDGE




                                                                                  R ev. 03/2005
                                                                                 P R O B 35.M R G
